         Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 1 of 31
                                                	


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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

 ANNE HAUSRATH, JOHN WHEATON,
 JOANIE FAUCI, MEG FEREDAY, ROGER                   Case No. 1:19-cv-103
 ROSENTRETTER, KATHRYN
 RAILSBACK, DALE REYNOLDS, and                      COMPLAINT
 GREAT OLD BROADS FOR
 WILDERNESS,

         Plaintiffs,

         v.

 UNITED STATES DEPARTMENT OF THE
 AIR FORCE,

         Defendant.



                                      INTRODUCTION

       1.       This case challenges the “Urban Close Air Support Air and Ground Training

Project” (Urban CAS Training Project) recently approved by Defendant United States

Department of the Air Force (Air Force) that establishes a permanent urban military training

program centered over nine cities across southern Idaho, from Boise to Burley. The Urban CAS

Training Project would authorize thousands of annual overflights of F-15 military jets, coupled




COMPLAINT – 1
            Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 2 of 31
                                                   	


with on-the-ground troop activity within the cities, occurring day and night for up to 160 days

per year.

       2.       The Urban CAS Training Project endangers the health, safety, and quality of life

of Idahoans, as well as birds and wildlife. Hundreds of thousands of residents in Boise and other

cities and towns in southern Idaho would be exposed in their homes, work places, and popular

recreation areas to disruptive jet noise with the potential to interrupt sleep cycles, interfere with

work and school, and otherwise harm their quality of life.

       3.       Despite the extraordinary and unprecedented reach of the training activities, the

Air Force approved the project without preparing a full Environmental Impact Statement (EIS)

as required by the National Environmental Policy Act (NEPA). Instead, the Air Force relied on a

November 2018 Final Environmental Assessment (Final EA) and Finding of No Significant

Impact (FONSI) to assert there would be no significant impacts.

       4.       In preparing the Final EA and FONSI, the Air Force failed to provide adequate

public notice and opportunity to comment on its proposed Urban CAS Training Project, and

never even responded to many public comments—from Plaintiffs and others—underscoring the

potentially significant impacts that the Air Force’s military overflights and associated on-the-

ground activities pose for the citizens of Boise and southern Idaho, and to migrating birds and

other wildlife. The Final EA and FONSI also failed to examine various potential risks and

reasonable alternatives to the selected action, among other flaws identified by public comments.

       5.       Because the Air Force violated NEPA in approving the Urban CAS Training

Project based on the inadequate Final EA and FONSI, and without preparing a full EIS, the

Court should reverse and remand with instructions to prepare a fully NEPA-compliant EIS.




COMPLAINT – 2
          Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 3 of 31
                                                   	


                                  JURISDICTION AND VENUE

         6.     Jurisdiction is proper in this Court under 28 U.S.C. §§ 1346 and 1331 because this

action involves the United States as defendant and arises under the laws of the United States,

including the APA, 5 U.S.C. §§ 701 et seq.; NEPA, 42 U.S.C. §§ 4321 et seq., the Equal Access

to Justice Act, 28 U.S.C. §§ 2214 et seq.; and applicable regulations.

         7.     An actual, justiciable controversy exists between Plaintiffs and the Air Force. The

requested relief is proper under 28 U.S.C. §§ 2201–02 and 5 U.S.C. §§ 701–706. The challenged

agency actions are final and subject to this Court’s review under 5 U.S.C. §§ 702, 704, and 706.

         8.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because all or a

substantial part of the events or omissions giving rise to the claims herein occurred within this

judicial district, one or more Plaintiffs reside in this district, and the affected lands and resources

in question are located in this district.

         9.     The federal government has waived sovereign immunity in this action pursuant to

5 U.S.C. § 702.

                                              PARTIES

         1.     Plaintiff ANNE HAUSRATH is over 18 years old and a resident of Boise, Idaho.

         2.     Plaintiff JOHN WHEATON is over 18 years old and a resident of Boise, Idaho.

         3.     Plaintiff JOANIE FAUCI is over 18 years old and a resident of Boise, Idaho.

         4.     Plaintiff MEG FEREDAY is over 18 years old and a resident of Boise, Idaho.

         5.     Plaintiff ROGER ROSENTRETTER is over 18 years old and a resident of Boise,

Idaho.

         6.     Plaintiff KATHRYN RAILSBACK is over 18 years old and a resident of Boise,

Idaho.




COMPLAINT – 3
         Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 4 of 31
                                                  	


       7.      Plaintiff DALE REYNOLDS is over 18 years old and a resident of Boise, Idaho.

       8.      Plaintiff GREAT OLD BROADS FOR WILDERNESS is a national, non-profit

organization, led by women, that engages and inspires activism to preserve and protect

wilderness and wild lands. The organization has a grassroots chapter located in Boise, Idaho,

known as the Boise Broadband. Formed in 1989, Great Old Broads now has over 3500 members

in all 50 states who believe that wild places are valuable in their own right, who value the spirt

and intent of national conservation legislation such as the Wilderness Act and the National

Environmental Policy Act, and who support sound science as a basis for informed decisions. A

primary goal of Great Old Broads is to ensure that there will still be remote, untrammeled places

left not just for our own grandchildren, but for those of all species. The organization has worked

to protect the Owyhee Canyonlands in southwestern Idaho, the last great unprotected expanse of

the American West, and other treasured public lands that may be impacted by the Urban CAS.

       9.      Plaintiffs participated in the Air Force decision-making process by attending

public meetings pertaining to the project and/or commenting on the Draft Environmental

Assessment for the project.

       10.     Plaintiffs and Great Old Broads’ members and supporters live, work, recreate, and

otherwise use and enjoy the areas—including their private properties and public lands—that will

be impacted by the Urban CAS Training Project, and will suffer irreparable injury as a result of

the Air Force’s unlawful actions. The Air Force’s NEPA violations increase the risk that the

significant environmental impacts of the Urban CAS Training Project will be overlooked,

causing unnecessary interference with their health, recreation, and quality of life.

       11.     Such injuries will be redressed by the relief sought herein. Requiring the

preparation of an EIS—one that fully and properly analyzes the environmental impacts of Urban




COMPLAINT – 4
          Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 5 of 31
                                                     	


CAS Training Project, reasonable alternatives, and public input—will increase the likelihood that

the Air Force will avoid or mitigate the adverse impacts of the Project.

        12.        Plaintiffs have no adequate remedy at law to address the foregoing injuries to

their interests.

        13.        Defendant UNITED STATES DEPARTMENT OF THE AIR FORCE is a

Military Department within the United States Department of Defense and is responsible for the

administration and operation of the United States Air Force. Defendant Air Force conducted the

defective NEPA public process for the Urban CAS Training Project, and issued the Final EA and

FONSI challenged here on November 7, 2018. The FONSI was signed by Colonel Joseph

Kunkel, Wing Commander, 366th Fighter Wing, Mountain Home Air Force Base, Idaho.

                                     NEPA’S REQUIREMENTS

        14.        Congress adopted NEPA to “encourage productive and enjoyable harmony

between man and his environment,” and “to promote efforts which will prevent or eliminate

damage to the environment and biosphere,” among other stated purposes. 42 U.S.C. § 4321.

        15.        The Council on Environmental Quality (CEQ) has promulgated regulations

implementing NEPA, which are binding on all federal agencies. 40 C.F.R. §§ 1500 et seq. The

Air Force has also adopted its own regulations implementing NEPA. 32 C.F.R. §§ 989 et seq.

        16.        Public participation and intergovernmental consultation are paramount to the

NEPA process. NEPA’s goals are to “insure that environmental information is available to public

officials and citizens before decisions are made and actions are taken,” and to “help public

officials make decisions that are based on [an] understanding of environmental consequences,

and take actions that protect, restore, and enhance the environment.” 40 C.F.R. § 1500.1(b)–(c).




COMPLAINT – 5
         Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 6 of 31
                                                   	


       17.     To that end, NEPA’s implementing regulations require federal agencies to

encourage and facilitate public involvement “to the fullest extent possible,” id. § 1500.2, and

identify public scrutiny as an “essential” part of the NEPA process, id. § 1500.1(b). See also id.

§ 1501.4(b) (Agencies must “involve . . . the public, to the extent practicable”); id. § 1506.6

(“Agencies shall: . . . (a) Make diligent efforts to involve the public in preparing and

implementing their NEPA procedures” and give “public notice of . . . the availability of

environmental documents so as to inform those persons . . . who may be interested or affected,”

and “solicit appropriate information from the public.”).

       18.     The scope of NEPA review is quite broad. Federal agencies must, among other

things, analyze all direct, indirect, and cumulative effects of a proposed action and its

alternatives on ecological, aesthetic, historic, cultural, economic, social, and health interests. Id.

§§ 1508.7, 1508.8.

       19.     Direct effects include those that “are caused by the action and occur at the same

time and place.” Id. § 1508.8(a).

       20.     Indirect effects include effects that “are caused by the action and are later in time

or farther removed in distance, but are still reasonably foreseeable.” Id. § 1508.8(b).

       21.     Cumulative effects result from incremental impacts of the action when added to

all other past, present, and reasonably-foreseeable future actions regardless of what agency or

person undertakes such other actions. Id. § 1508.7. “Cumulative impacts can result from

individually minor but collectively significant actions.” Id.

       22.     The consideration of alternatives is also at the heart of NEPA review. Federal

agencies must “[r]igorously explore and objectively evaluate all reasonable alternatives, and for

alternatives which were eliminated from detailed study, briefly discuss the reasons for their




COMPLAINT – 6
         Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 7 of 31
                                                  	


having been eliminated”; “[d]evote substantial treatment to each alternative considered in detail

including the proposed action”; and “[i]nclude reasonable alternatives not within the jurisdiction

of the lead agency.” Id. § 1502.14(a)–(c); see also 32 C.F.R. § 989.8 (Air Force NEPA

regulations requiring it to evaluate the impacts of all “reasonable alternatives to the proposed

action and the ‘no action’ alternative”).

       23.     NEPA requires that federal agencies must prepare an Environmental Impact

Statement (EIS) for all “major federal actions significantly affecting the quality of the human

environment.” 42 U.S.C. § 4332(2)(C)(i).

       24.     An EIS must include, inter alia, a detailed statement of: (1) the environmental

effects—including direct, indirect, and cumulative effects—of the proposed action; (2) any

adverse environmental effects that cannot be avoided if the proposed action is implemented; (3)

reasonable alternatives to the proposed action; and (4) mitigation measures to minimize any

significant effects identified. 42 U.S.C. § 4332(2)(C); 40 C.F.R. §§ 1508.7, 1508.8, 1502.10,

1502.14, 1502.16.

       25.     To determine whether potential adverse effects are significant enough to warrant

an EIS, the agency may prepare a more brief Environmental Assessment (EA). 40 C.F.R.

§ 1508.9(a).

       26.     If the agency determines from the EA that no EIS is required, it must document

that determination in a Finding of No Significant Impact (FONSI). The agency’s EA and FONSI

must provide a “convincing statement of reasons” why the project’s impacts are insignificant. 40

C.F.R. §§ 1501.4, 1508.9, 1508.13.

       27.     In so doing, an EA must “provide sufficient evidence and analysis for determining

whether to prepare an environmental impact statement or a finding of no significant impact.” 40




COMPLAINT – 7
         Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 8 of 31
                                                   	


C.F.R. § 1508.9(a)(1). This includes a discussion of cumulative impacts. Native Ecosystems

Council v. Dombeck, 304 F.3d 886, 895–896 (9th Cir. 2002). “Because the very important

decision whether to prepare an EIS is based solely on the EA, the EA is fundamental to the

decision-making process.” Metcalf v. Daley, 214 F.3d 1135, 1143 (9th Cir. 2000).

       28.     In evaluating the “significance” of an environmental impact for purposes of

determining whether an EIS is required, federal agencies must consider, inter alia:

       (1) “[t]he degree to which the effects . . . are likely to be highly controversial”;

       (2) “[t]he degree to which the possible effects . . . are highly uncertain or involve unique

or unknown risks”;

       (3) “[t]he degree to which the action may establish a precedent for actions with

significant effects or represents a decision in principle about a future consideration”;

       (4) whether the action may result in significant cumulative effects; and

       (5) “[t]he degree to which the action may adversely affect an endangered or threatened

species or its critical habitat.” 40 C.F.R. § 1508.27(b).

       29.     If the EA indicates that the federal action may significantly affect the quality of

the human environment, or if “substantial questions are raised” as to whether a proposed federal

agency action may have a significant effect on some human environmental factor, then the

agency must prepare an EIS. Klamath Siskiyou Wildlands Ctr. v. Boody, 468 F.3d 549, 562 (9th

Cir. 2006); 40 C.F.R. § 1501.4(c). “This is a low standard.” Klamath, 468 F.3d at 562.

       30.     Thus, in challenging a federal agency’s decision not to prepare an EIS, a “plaintiff

need not show that significant effects will in fact occur”; rather, a plaintiff need only raise

“substantial questions whether a project may have a significant effect.” Id.




COMPLAINT – 8
           Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 9 of 31
                                                  	


          31.   An agency’s decision not to prepare an EIS will be found invalid if the agency has

failed to “take a hard look at the environmental consequences” of its action, the agency’s

analysis is not “based on a consideration of the relevant factors,” or “the agency fails to supply a

convincing statement of reasons why potential effects are insignificant.” Metcalf, 214 F.3d at

1141–42.

          32.   NEPA’s implementing regulations also provide that the agency shall ensure the

scientific accuracy and integrity of environmental analysis . Agencies “shall identify any

methodologies used[,] and shall make explicit reference by footnote to the scientific and other

sources relied upon for conclusions.” 40 C.F.R. § 1502.24. The agency’s environmental

information “must be of high quality.” Id. § 1500.1(b). “Accurate scientific analysis, expert

agency comments, and public scrutiny are essential to implementing NEPA.” Id.

          33.   The agency also must disclose if information is incomplete or unavailable, and

explain “the relevance of the incomplete or unavailable information to evaluating reasonably

foreseeable significant adverse impacts.” Id. § 1502.22(b)(1).

          34.   The Air Force NEPA regulations expressly require consideration of

environmental justice during the NEPA process. See 32 C.F.R. § 989.33 (requiring compliance

with Executive Order 12,898, which directs agencies to identify and address disproportionate

adverse impacts of their activities on minority and low in come populations).

       35.      The Air Force must publish notice of its EA and FONSI in a “in a prominent

section of the local newspaper(s) of general circulation” under an array of circumstances,

including when the proposed action is a change to airspace use or designation. 32 C.F.R. §

989.24.




COMPLAINT – 9
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 10 of 31
                                                  	


                                   STATEMENT OF FACTS

        Overview of the Air Force’s Urban CAS Training Project

        36.    According to the Final EA and FONSI, the Air Force’s Urban CAS Training

Project will involve military training exercises conducted in major urban centers across southern

Idaho, including the greater Boise metropolitan area and Twin Falls, as well as Burley, Glenns

Ferry, Bruneau, Hammett, Grand View, Mountain Home, and the Mountain Home Air Force

Base.

        37.    Urban CAS Training Project will involve repeated overflights by F-15 jets and

coordinated operations by military personnel on the ground. The training operations will use

existing American F-15E and Singaporean F-15SG aircraft and flight teams operating out of

Mountain Home Air Force Base, located in southwestern Idaho.

        38.    The selected action will involve up to 160 “Training Events” each year for an

indefinite number of years. Each “Training Event” would entail a collection of “Training

Operations”—up to 400 in a given year—that would take place within a single urban area on a

given day.

        39.    Before each of the “Training Operations” begins, and during any operational

hand-offs between pairs of jets, two or four jets will begin flying in a circular holding pattern

maintaining a fifteen-nautical-mile distance from an urban center. They will circle the urban

center an estimated three times an hour for an unknown period of time.

        40.    The Final EA describes this holding pattern as occurring on the outskirts of town,

but in Boise, for instance, the holding pattern would be directly over major population centers

including Meridian, Eagle and Nampa; the Snake River Birds of Prey National Conservation

Area; and would impact numerous popular recreation areas including the Boise Foothills.




COMPLAINT – 10
           Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 11 of 31
                                                   	


        41.     The holding patterns around other urban areas identified in the CAS Project,

including Twin Falls, Mountain Home, Glenns Ferry, Grandview, and Bruneau, will also occur

over sensitive wildlife habitats and public lands, including the Bruneau-Jarbidge Rivers

Wilderness, Big Jacks Creek Wilderness, Little Jacks Creek Wilderness, the King Hill Creek

Wilderness Study Area, and the Owyhee Canyonlands region.

        42.     Once the military jets are in their holding patterns, a convoy of up to five vehicles

and twenty soldiers will enter the urban center and act as the “Opposing Forces,” while a convoy

of up to five vehicles and twenty soldiers would act as the “Friendly Forces.” These convoys will

be comprised of both American and Singaporean forces and they will drive unmarked cars, travel

through public spaces, and be disguised as plainclothes civilians.

        43.     To begin a mission scenario, the Friendly Forces will communicate by radio with

the F-15 jets above for help locating the Opposing Forces, which the aircraft will then track and

target with training lasers.

        44.     The Air Force claims that such lasers are “eye safe” so long as they are set to the

proper strength and not magnified by telescopes, telephoto lenses, or similarly strong magnifying

devices.

        45.     During a “Training Operation,” aircraft will fly over the urban center at an

altitude of 10,000 to 18,000 feet above ground level for up to ninety minutes at a time. Each

“Training Operation” is followed by a two- to three-hour break before another mission, resulting

in an estimated maximum of six hours of flight over an urban center during a “Training Event.”

        Urban CAS Training Project History

        46.     The Air Force first opened the Urban CAS Training Project to stakeholder review

in February 2018 through a thirty-day public scoping period.




COMPLAINT – 11
          Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 12 of 31
                                                   	


          47.    Upon information and belief, at some point prior to the completion of the scoping

period, the Air Force began conducting Project training operations over the urban centers without

first completing NEPA review.

          48.    This indicates that the Air Force pre-determined its decision to approve the CAS

Urban Project.

          49.    Despite the vast scope of the Project and the potentially impacted population, the

Air Force did little to notify or seek input from the public during this scoping period. The only

notice provided to the general public was a Draft Description of the Proposed Action on the

Mountain Home AFB website.

          50.    Additionally, the Air Force provided notice of the scoping period to state and

local government entities, federally recognized Tribes, and nine environmental groups. Major

affected cities such as Meridian, Eagle, and Garden City received no formal notice of the scoping

period.

          51.    Immediately following the scoping period, the Air Force scheduled a series of

seven public scoping meetings without widely publicizing the fact. The meetings were to take

place in Twin Falls, Glenns Ferry, Grandview, Eagle, Meridian, Mountain Home, and Boise. The

Air Force failed to propose meetings at several of the other urban centers selected to be the

center of training operations, let alone any of the major or outlying areas that fall within the

fifteen-nautical-mile training radius. Moreover, several of the meetings took place during the

9:00 a.m. – 5:00 p.m. workday, making it difficult for many individuals to attend.

          52.    Further dissuading public participation, the Air Force cancelled and then

rescheduled the last four of these meetings, cancelling the Boise meeting on the very day it was




COMPLAINT – 12
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 13 of 31
                                                   	


to be held. Subsequently, the Air Force was forced to extend the scoping comment period

deadline to ensure most of the meetings took place before it was closed.

       53.     On September 14, 2018, the Air Force issued a Draft EA and permitted a thirty-

day public comment period. Because of delays in making the supporting documents available to

the public, the Air Force extended the comment period deadline by six days.

       54.     The Air Force only published notice of the Draft EA’s availability in two town

newspapers, failing to cover major newspapers such as the Times-News of Twin Falls. Despite

the broad scope of the project across major Idahoan cities, the Air Force failed to mail any notice

to potentially affected individuals.

       55.     Plaintiffs timely submitted extensive comments on the Draft EA. These comments

noted several major problems with the Draft EA, and specifically underscored that an EIS is

required for a proposal as dangerous, controversial, and novel as this one.

       56.     Plaintiffs’ comments also detailed numerous ways that the Draft EA failed to take

a hard look at the impacts of the proposal; failed to consider a reasonable range of alternatives;

and failed to adequately notify and involve the public and government officials.

       57.     It appears that at least 160 individuals and organizations commented on the Urban

CAS Draft EA. This number is an underestimate as Great Old Broads’ name and comment was

missing from the Comment Response Matrix in Volume II of the Final EA and other comments

may be missing as well. The vast majority of comments expressed concerns with the Air Force’s

failure to consider reasonable alternatives, failure to notify the public and allow full public

participation, and failure to fully consider the proposal’s impact on sleep, health, and the

environment.




COMPLAINT – 13
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 14 of 31
                                                  	


       58.     On November 7, 2018, the Air Force released the Final EA and the signed FONSI

for the Urban CAS Training Project. The Air Force failed to provide notice of this fact to all

interested parties, including those who specifically requested to be notified of the availability of

the Final EA, as required by NEPA. Additionally, the Air Force failed to respond to or correct

the deficiencies identified in numerous public comments received on the Draft EA.

       Key Defects in Final EA and FONSI

       Sleep Disturbance from Aircraft Noise

       59.     The Air Force’s Final EA relied exclusively on a static Sound Exposure Level

(SEL) threshold to gauge the impact of overflights on human sleep. SEL is the total amount of

sonic energy caused by a single noise event, accounting for intensity and duration, expressed as a

weighted dBA over one second.

       60.     The Air Force stated that the threshold for human sleep interference is an SEL of

90 dBA, which presumes a 25 dB noise reduction attributable to a building envelope. Because

the Air Force predicted that the SEL of Urban CAS Project training would not exceed 72.3 dBA,

the Final EA concluded that the Urban CAS Training Project will have negligible impacts on

sleep. But there are several key flaws with this analysis of sleep impacts.

       61.     First, the chosen sleep interference threshold of 90 dBA presumes a 25 dB noise

reduction attributable to a building envelope, and therefore measures only the probability of

awakening individuals who are sleeping indoors. Anyone sleeping outside or in a tent would

experience sleep interference at an SEL of just 65 dBA, well below the projected SEL for the

Urban CAS Training Project. The Air Force failed to acknowledge or consider the Project’s

likely impacts on the homeless population and those recreating and camping outside.




COMPLAINT – 14
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 15 of 31
                                                  	


       62.     Second, the Air Force failed to analyze how a full night of flyovers—as opposed

to a single flyover—would impact sleep. The Air Force’s selected SEL metric only indicates the

threshold at which a single noise event is likely to awaken individuals from sleep.

       63.     Repeated noise events, such as those proposed, are known to substantially

increase the likelihood of awakening at any given decibel level. See, e.g., Department of Defense

Noise Working Group, Using Supplemental Noise Metrics and Analysis Tools 17 (2009).

Nonetheless, the Air Force failed to provide any data on the number of times aircraft would fly

over a given location during any given night of trainings, or to analyze the impacts of repeated

flyovers.

       64.     Third, the Final EA only addressed the potential negative impact of overflights

fully waking civilians, and it failed to consider other well-documented impacts of nighttime

noise, such as impaired or delayed sleep, which can have serious health and economic impacts.

       Speech Interference from Aircraft Noise

       65.     The Air Force used an analysis of the Maximum Sound Level (“Lmax”)—the max

dBA at a single point in time—to determine the impact of individual flyovers on speech and

communication. The Final EA estimated that the Lmax of individual flyovers will not exceed 59.3

dBA and asserted that aircraft noise will not interfere with communication unless the Lmax is over

75 dBA.

       66.     Similar to the Air Force’s analysis of sleep, there are several key flaws with its

analysis of the impact of overflights on conversations.

       67.     Many of the flaws are identical to the problems noted above in regard to sleep

disturbance, because the 75 dBA standard for speech interference assumes 25 dBA of protection




COMPLAINT – 15
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 16 of 31
                                                 	


from being indoors. Outdoor speech interference can occur at just 50 dBA, a level well below the

stated 59.3 dBA Lmax for the Urban CAS Training Project.

       68.     Thus, the Urban CAS Training Project has the potential to interfere with the

communications of anyone spending time outside in Boise or other parts of southern Idaho—

outdoor workers, hikers and runners, students on field trips, audiences at outdoor amphitheaters,

and customers dining on patios. Outdoor conversations are incredibly common, and interference

with them can cause as much or more annoyance and stress as noise indoors. Nevertheless, the

Air Force failed to discuss interference with outdoor conversations at all in the Final EA’s

analysis of speech interference.

       Noise Pollution and Community Annoyance

       69.     The Air Force further failed to consider potential impacts to the quality or

characteristics of the soundscapes within and around the selected urban centers, and the

annoyance such impacts will cause.

       70.     To assess potential soundscape impacts, the Air Force estimated the cumulative

impacts of aircraft noise on each urban center using the Day-Night Sound Level (DNL)—the

average dBA level in a 24-hour period with a 10 dBA penalty added to noise between 10:00 p.m.

and 7:00 a.m. This DNL was then compared to the background noise levels in the impacted

areas. For this analysis, the Final EA grouped the targeted urban centers into three categories by

size and estimated the background noise level, calculated as DNL, within each as follows: large,

57 dBA; medium, 52 dBA; and small, 40 dBA.

       71.     Against this backdrop, the Final EA stated that a modeling program showed the

DNL for the Urban CAS Training Project will never exceed a 37 dBA DNL and will thus have

no impact on the soundscape of the urban center at all. The Final EA cited studies from 1974,




COMPLAINT – 16
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 17 of 31
                                                  	


1978, and 2003 to claim less than one in ten million people will be annoyed by this sound level,

also asserting that the sound will “blend naturally with the existing soundscapes in these areas.”.

       72.     However, merely stating that a model predicted there would only be minor noise

impacts from the training is insufficient to meet the “hard look” requirement of NEPA. The Air

Force failed to disclose any of the variables in height, speed, or flight pattern used to produce

this model and did not disclose if the calculation considered changes in elevation, weather,

ground impedance, or other pertinent variables which affect the noise caused by overflights. It

also failed to disclose whether the projected DNL was based only on operational days or was

based on a calendar year, such that non-operational days might artificially depress its noise

predictions.

       73.     Moreover, the Air Force’s claims that the aircraft noise will “blend” into existing

soundscapes is unsupported by the record and fails to consider important variables.

       74.      The Air Force relies on gross generalizations of the background noise levels of

each urban center and ignored the nuances of each area. This is illustrated by the fact that the Air

Force estimated the ambient background noise in Mountain Home AFB, with an estimated

population of 3070, is identical to the background noise in the city of Grand View, which only

has an estimated population of 390.

       75.     Moreover, even if the Air Force’s background noise estimates are appropriate for

the true urban core of each chosen city, they fail to account for the surrounding natural,

recreational, and wildlife areas, which have a far lower background noise levels.

       76.     The City of Boise and other impacted urban centers include large swaths of public

lands and foothill trails whose natural and even wilderness characteristics—including their

naturally quiet soundscapes—are highly valued. These areas lack the elevated background noise




COMPLAINT – 17
                Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 18 of 31
                                                                	


levels associated with commerce, commercial and residential traffic, inflated populations, and

the other trappings of urban life. Visitors to these areas expect to be able to escape the sights and

sounds of modern life, and the roar of F-15s passing overhead will impair their ability to enjoy

these natural resources. This means that aircraft noise will be far more audible and cause more

annoyance than the Air Force examined in the Final EA.

              77.            Sister federal agencies have provided a much more nuanced understanding of the

urban-rural soundscape. For example, the National Park Service (NPS) Natural Sounds and

Night Skies Division has modeled background sound levels across the country using an L50

metric during the summer daytime, which establishes the sound level that is exceeded in that area

50% of the day. See NPS, Geospatial Sound Modeling, 2013-2015,

https://irma.nps.gov/DataStore/Reference/Profile/2217356. The NPS’s soundscape modeling

shows that noise in areas such as downtown Boise is orders of magnitude more intense than quiet

parts of the foothills. Although this more granular analysis was available to the Air Force during

its NEPA review process, the Air Force never considered this scientific information in

concluding that soundscape impacts will be minimal.

              78.              Even using the Air Force’s inflated calculations of the background noise levels,

the aircraft noise from the Urban CAS Training Project will be clearly audible. The Air Force

estimates that aircraft flyovers for this Project will produce an Lmax of up to 59.3 dBA. That is an

order of magnitude louder1 than the background noise in the five smaller cities and exceeds the

estimated background noise levels in Boise by almost 5 dBA—a significant difference. It will

most certainly not fade into the background for residents or visitors enjoying the great outdoors

in these quiet areas.


																																																													
1
    A 10 dB increase of a sound doubles its perceived loudness


COMPLAINT – 18
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 19 of 31
                                                 	


       79.     Finally, the exclusive use of the DNL metric, which averages noise over a 24-

hour period, to measure community annoyance is problematic because of the intermittent nature

of aircraft noise from the Urban CAS Training Project. The Air Force failed to account for the

increased annoyance of sounds that are sporadic and occur at random times. Additionally, the Air

Force failed to consider that noise is likely more annoying when it is unexpected and out of

place. Therefore, a hiker is far more bothered by an overflight than someone downtown

expecting man-made disturbances.

       Environmental Justice

       80.     Executive Order 12,898 requires federal agencies to determine whether a project

will have a disproportionately adverse effect on minority and low-income populations. 59 Fed.

Reg. 7629 (Feb. 16, 1994); see 32 C.F.R. § 989.33 (Air Force NEPA regulation codifying the

requirements of E.O. 12,898).

       81.     To accomplish this, an agency must determine whether the impacted area contains

a disproportionately high percentage of low-income or minority residents, as compared to an

appropriate unit of comparison (e.g., the entire state). The agency must also consider whether

low-income and minority residents are otherwise more susceptible to the adverse impacts than

the general population. See Council on Environmental Quality, Environmental Justice: Guidance

Under the National Environmental Policy Act 26 (1997).

       82.     The Final EA arbitrarily concluded that the Urban CAS Training Project will not

disproportionately impact minority and low-income populations. The Air Force first asserts that

the training areas are comprised of less than 50% low-income and minority residents and that

every population within the training areas “would be equally as likely to experience effects.”

This argument failed to consider whether the proportion of low-income and minority residents,




COMPLAINT – 19
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 20 of 31
                                                    	


even if less than 50%, is nonetheless “disproportionately higher” than a relevant community of

comparison.

       83.     The Air Force also failed to consider whether differences in housing

characteristics may cause greater indoor noise impacts on low-income communities. For

example, less insulation, single-paned windows, poor-quality construction, and open windows in

the summer may increase exposure to aircraft noise. The homeless would also face an even

greater exposure to the noise.

       84.     Second, the Air Force restated its false claim that there will be no effect on any

population whatsoever, thus arguing that no group could be disproportionately impacted. In

truth, the Urban CAS Training Project poses significant adverse impacts, particularly on those,

such as the homeless, who face greater exposure to the noise.

       Other Health and Quality of Life Impacts of Aircraft Noise

       85.     The Final EA also failed to meaningfully and fully analyze the adverse effects

that noise can have on health. Additionally, although the Final EA touched on the potential for

aircraft to be annoying, it failed to address other quality of life issues that can be impacted by

aircraft noise, such as stress and mental health.

       86.     In addition to hearing loss, interrupted sleep, and disturbed communication, there

is evidence that elevated noise levels may increase rates of dementia, depression, diabetes,

obesity, hypertension, heart disease, heart attacks, strokes, and other adverse cardiovascular

effects. The Final EA examined none of these numerous health risks, even though many of them

were directly raised as comments during the scoping period or on the Draft EA.

       87.     The Air Force also failed to analyze whether the Urban CAS Training Project will

have an impact on sensitive urban areas, such as schools, hospitals, churches, cemeteries, and




COMPLAINT – 20
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 21 of 31
                                                   	


other quiet public spaces. Communication and quiet contemplation at places such as these is

particularly important and vulnerable to disturbance.

       88.     The Air Force asserts that so long as the DNL of aircraft noise remains under

65 dBA, flights are acceptable over all noise-sensitive land. But, as discussed above, the Air

Force’s DNL calculations are flawed and based upon unexplained modeling and assumptions.

       89.     Furthermore, the Air Force did not take a hard look at the other ways noise can

impact children besides impairing communication in the classroom. Noise itself can have a

serious detrimental effect on children, potentially impacting their reading comprehension,

memory, psychological health, and ability to learn new material. See, e.g., Aviation Environment

Federation, Aircraft Noise and Public Health: The Evidence is Loud and Clear (2016); Civil

Aviation Authority, Aircraft noise and health effects: Recent findings (2016). The Final EA

failed to examine these factors.

       Non-Auditory Health Impacts

       90.     The Final EA also failed to examine important questions about the health impacts

of targeting lasers or the psychological impact of visible military activity in civilian areas,

whether on veterans or non-veteran, civilian community members.

       91.     The Final EA asserted that the lasers will have no human health impacts, yet

acknowledged that the lasers can cause severe eye damage if viewed through telephoto lenses

and other strong magnifiers. Telephoto lenses are frequently used in photography during both the

day and night, with astro-photographers frequently pointing their lenses at the sky or using

telescopes. The chance of a laser hitting a lens may be low, but the risk of blinding someone is

unacceptably high.




COMPLAINT – 21
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 22 of 31
                                                  	


       92.     There are also potential health risks to veterans and others who might hear ground

teams communicating with jets or jets flying overhead and be psychologically injured. The

Supreme Court has held that such psychological impacts are cognizable under NEPA and must

be considered. However, the Final EA failed to address these concerns.

       Impacts on Birds, Wildlife, and Animals

       93.     The Air Force also failed to adequately analyze the potential impact of noise on

birds, wildlife, and domestic animals.

       94.     Southern Idaho, and the Boise area in particular, are home to many species of

birds and wildlife that are sensitive to human-caused impacts to their normal behaviors,

including nesting/sleeping, feeding, breeding, and migration. Indeed, the Intermountain Bird

Observatory, maintained by Boise State University, is located at the top of Lucky Peak and

studies migrating raptors and other birds that use the region around Boise as a migratory fly-way.

       95.     In addition, imperiled wildlife populations—such as bighorn sheep and greater

sage-grouse—are found in many parts of southern Idaho within the scope of the Urban CAS

Training Project.

       96.     Rather than carefully analyzing the potential impact on these bird and wildlife

populations, the Final EA summarily asserted—without any supporting evidence or analysis—

that Urban CAS training will have little to no lasting harmful effect on birds or wildlife. This

assertion lacks factual and scientific integrity and fails the NEPA hard look requirement.

Moreover, this conclusory statement is insufficient in light of studies showing that aircraft noise

may impact species of domestic and wild mammals and birds.

       97.     In the absence of definitive data on the effect of noise on animals, the U.S.

National Research Council has proposed that noise levels which negatively affect humans will




COMPLAINT – 22
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 23 of 31
                                                   	


also affect animals. The Air Force should have followed this guidance unless it is contraindicated

for specific animals by the best available science. However, the decibel data that the Air Force

provided is A-weighted, meaning that it’s curved to approximate human hearing. The use of A-

weighted decibels is inappropriate for animals, so unweighted decibel levels must be provided to

even begin to allow analysis of the project’s effects on animals.

       98.     The Air Force also dismissed the possibility of bird strikes by asserting that bird

strikes rarely occur over 3500 feet elevation—but rare does not mean they never happen. The

Final EA further asserted that “[n]o additional effects on migratory birds would be expected

because the overall number of air operations would remain the same, only distributed among the

installation, [the Mountain Home Range Complex], and the nine urban centers. . . . Additionally,

continuing adherence to existing Bird/Wildlife Aircraft Strike Hazard (BASH) protocols would

limit the potential adverse effects.” This claim ignores the fact that migratory bird flight patterns

may differ across urban centers and that a change in the location of air operations may indeed

increase the potential impacts to migratory birds.

       99.     The Air Force’s failure to closely study migrating raptors and other birds using

the Boise-area flyway is of particular concern, as the Air Force aircraft operating in and around

the Boise urban area may pose higher risks of collisions with birds that the Air Force has not

evaluated.

       100.    Additionally, the Final EA claimed that the Air Force will ensure air crews avoid

wildlife conservation and refuge areas, but it provided no details as to how this will be

accomplished. In Boise, Grand View, Bruneau, Hammet, Mountain Home, and Mountain Home

Air Force Base, for instance, the 30 NM training circle overlaps the Morley Nelson Snake River

Birds of Prey NCA, but the Final EA did not address what aircraft will do to avoid it. Moreover,




COMPLAINT – 23
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 24 of 31
                                                   	


the Final EA did not discuss how such avoidance will protect birds that migrate beyond the

arbitrary boundaries of these wildlife areas.

       101.    Finally, even though the 30 NM areas over cities such as Grand View, Bruneau,

Glenns Ferry, and Hammett, appears to overlap the Bruneau-Jarbidge Rivers Wilderness, Big

Jacks Creek Wilderness, Little Jacks Creek Wilderness, and the King Hill Creek Wilderness

Study Area, the Final EA fails to discuss avoiding these areas at all.

       102.    The Final EA also failed to indicate whether or how the Republic of Singapore

Air Force would be held to the BASH protocols or other wildlife protections laws applicable to

federal agencies.

       Environmental Impacts of Fuel Dumping

       103.    The Final EA stated that fuel dumping by military aircraft might be necessary in

an emergency, but it will only occur over unpopulated areas. Yet many of the unpopulated areas

in the proposed range are used for recreation or wildlife protection. Nonetheless, the Air Force

failed to assess and disclose the health and environmental impacts of dumping fuel in these

sensitive areas.

       Reasonable Alternatives Proposed by Comments but Ignored

       104.    The Air Force further failed to meet its NEPA obligation to analyze reasonable

alternatives to the proposed action that still fulfill the proposal’s purpose.

       105.    In both the Draft EA and Final EA, the Air Force addressed only the preferred

plan and a “no action” alternative. A token effort was made at carrying other alternatives forward

for analysis, but instead of true alternative plans, this was only a method of determining which

cities were best able to meet the needs of the project. The alternatives failed to offer any

difference in environmental impacts. Two additional alternatives—training over all nearby cities




COMPLAINT – 24
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 25 of 31
                                                  	


and training at other Air Force bases or military operating areas—were also summarily dismissed

for failing to meet the purpose and need. No alternative considered ways to mitigate or minimize

the adverse impacts of the training operations.

       106.    Commenters raised at least two reasonable alternatives that the Air Force failed to

fully consider. The first reasonable alternative was to have the Air Force develop its own urban

range as a substitute for training among the civilian population. The Air Force immediately

dismissed this alternative for failing to meet the purpose and need, arguing that it would require

limiting current weapons employment training on gunnery ranges. However, a true examination

of the proposal’s reasonability would require further analysis of the degree of impact it would

have on the gunnery range and a further investigation of the actual effects it would have on

training, which the Air Force neglected to perform.

       107.    The second reasonable alternative is the possibility that all Urban CAS Project

training could be done in a simulator. Nellis Air Force Base in Nevada has a simulation facility

that is described as “a most realistic training environment.” It allows ground teams and pilots to

work together inside the simulator to perform a range of missions under many conditions and

adequately meets the needs and purpose of this proposal.

       108.    Furthermore, a simulation could provide a superior range of urban and airspace

environments to practice in because adverse weather conditions, enemy fire, and a whole range

of other options could be simulated that would be too dangerous and unpredictable to practice

live. This is not a remote or speculative option. Simulations are used widely by the US Air Force,

Navy, Marines, Air National Guard, and other armed forces around the globe to practice

coordinating land and air forces. See MetaVR, Mission Training: JTAC Simulation,

http://www.metavr.com/casestudies/jtac.html. The technology is ready and able to substitute for




COMPLAINT – 25
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 26 of 31
                                                  	


putting civilian populations in any degree of risk, so the Air Force had to explain why it failed to

even consider this alternative, but did not do so in the Final EA.

       109.    The Final EA also should have considered a combined alternative which

minimized flights over civilian air space, and, instead, used simulations and/or improving the

MHRC range to both minimize the potential risks to civilians and still allow a small number of

live flights if they provide an irreproducible training atmosphere.

       110.    Moreover, the Air Force summarily rejected another alternative involving training

at other Air Force Bases (AFBs), arguing that suitable urban environments were unavailable at

nearby bases, but this answer lacked reasonable examination and analysis. The final alternative

proposal to build an urban CAS range on Air Force land is a real and viable alternative, and the

Air Force should have analyzed whether other AFBs have enough land available to build a large

urban CAS range without impacting their gunnery ranges or if Mountain Home AFB could share

a different AFBs gunnery range while converting part of their own into a better urban CAS

range. The Air Force failed to consider these viable alternatives, however.

                                 FIRST CLAIM FOR RELIEF:

                    NEPA and APA Violations: Failure to Prepare an EIS

       111.    Plaintiffs reallege and incorporate by reference the preceding paragraphs.

       112.    This First Claim for Relief challenges the Air Force’s violations of NEPA and

NEPA’s implementing regulations by authorizing Urban CAS Training Project without preparing

an Environmental Impact Statement. Plaintiffs bring this claim pursuant to the judicial review

provisions of the APA, 5 U.S.C. § 706.

       113.    As discussed above, NEPA requires federal agencies to prepare an EIS for all

“major Federal actions significantly affecting the quality of the human environment.” 42 U.S.C.




COMPLAINT – 26
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 27 of 31
                                                  	


§ 4332(2)(C). Under NEPA’s implementing regulations, “significance” requires an evaluation of

both the “context” of the action and its “intensity.” 40 C.F.R. § 1508.27(a)–(b).

       114.    Numerous factors, as identified above and in Plaintiffs’ and other public

comments, underscore that the Urban CAS Training Project may have significant impacts

requiring the preparation of an EIS. These include, but are not limited to, the following:

       A.      The high degree of controversy over the effect of the Urban CAS Training Project

as evidenced by the substantial dispute about the size, nature, and effects of the action on humans

and the environment, as well as the presence of comments which cast substantial doubt on the

adequacy of the Air Force’s methodology and data that were not resolved by the final EA;

       B.      The degree to which the possible effects on the human environment are highly

uncertain or involve unique or unknown risks, because of the lack of modern standards or

conclusive research on the impact of aircraft noise on humans and animals;

       C.      The degree to which the action affects public health and safety; and

       D.      The unique characteristics of the geographic area, which includes not only a third

of the state of Idaho’s population but also numerous state and federal conservation, wilderness,

and refuge areas.

       115.    Because the Air Force violated NEPA’s requirements by approving the Urban

CAS Training Project without preparing an EIS, its action is arbitrary, capricious, an abuse of

discretion, not in accordance with the law, without observance of procedure required by law,

and/or in excess of statutory jurisdiction, authority, or limitations within the meaning of the

judicial review provisions of the APA; and must be held unlawful and set aside under 5 U.S.C.

§ 706(2).

       WHEREFORE, Plaintiffs pray for relief as set forth below.




COMPLAINT – 27
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 28 of 31
                                                  	


                               SECOND CLAIM FOR RELIEF:

                 NEPA and APA Violations: Failure to Take a “Hard Look”

       116.    Plaintiffs reallege and incorporate by reference all preceding paragraphs.

       117.    This Second Claim for Relief challenges the Air Force’s violations of NEPA and

implementing regulations in approving the Urban CAS Training Project based on the failure of

the Final EA and FONSI to take a “hard look” at potential impacts as required by NEPA and

failure to provide a convincing explanation of why no EIS was required. Plaintiffs bring this

claim pursuant to the judicial review provisions of the APA, 5 U.S.C. § 706.

       118.    As alleged hereinabove, and as will be presented in further briefing before the

Court, the Final EA and FONSI are based upon unsupported assumptions, errors, and omissions,

which renders them grossly deficient under NEPA and the APA.

       119.    The Final EA and FONS failed to take a hard look at the potential impacts of the

Urban CAS Training Project, including on human sleep, speech, and health; community

annoyance; natural and rural soundscapes; environmental justice; and birds, wildlife, and

animals.

       120.    Accordingly, the Final EA and FONSI are arbitrary, capricious, an abuse of

discretion, not in accordance with law under NEPA and the APA, and cause or threaten serious

prejudice and injury to the rights and interests of Plaintiffs and their board, staff, members and

supporters, and must be reversed and remanded pursuant to the APA, 5 U.S.C. § 706.

       WHEREFORE, Plaintiffs pray for relief as set forth below.

                                THIRD CLAIM FOR RELIEF:

    NEPA and APA Violation: Failure to Consider a Reasonable Range of Alternatives

       121.    Plaintiffs reallege and incorporate by reference all preceding paragraphs.




COMPLAINT – 28
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 29 of 31
                                                  	


       122.    This Third Claim for Relief challenges the Air Force’s violations of NEPA and

implementing regulations in approving the Urban CAS Training Project without analyzing

reasonable alternatives.

       123.    As alleged hereinabove, and as will be presented in further briefing before the

Court, the Air Force violated NEPA because the Final EA and FONSI refused to analyze

reasonable alternatives to its proposed actions, including alternatives identified by public

comments, or alternatives utilized elsewhere by the Air Force and other branches of the Armed

Services.

       124.    Accordingly, the Final EA and FONSI are arbitrary, capricious, an abuse of

discretion, not in accordance with law under NEPA and the APA, and cause or threaten serious

prejudice and injury to the rights and interests of Plaintiffs and their board, staff, members and

supporters, and must be reversed and remanded pursuant to the APA, 5 U.S.C. § 706.

       WHEREFORE, Plaintiffs pray for relief as set forth below.

                               FOURTH CLAIM FOR RELIEF:

       NEPA and the APA Violation: Failure to Provide Adequate Notice and Public
                                    Participation

       125.    Plaintiffs reallege and incorporate by reference all preceding paragraphs.

       126.    This Fourth Claim for Relief challenges the Air Force’s approval of the Urban

CAS Training Project as violating the public participation and notice requirements of NEPA and

implementing regulations. This claim is brought under the judicial review provisions of the APA,

5 U.S.C. § 706.

       127.    As alleged hereinabove, NEPA and implementing regulations require federal

agencies to involve the public in preparing and considering environmental documents that

implement the Act. See, e.g., 40 C.F.R. §§ 1500.1(b), 1501.4(b), 1506.6.



COMPLAINT – 29
           Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 30 of 31
                                                   	


        128.     The Air Force violated its duties to inform the public of its proposed Urban CAS

Training Project, to allow for meaningful and timely public involvement, and to respond to

public comments in numerous respects as identified above and will be briefed before the Court.

        129.     Accordingly, the Air Force’s approval of Urban CAS Training Project through the

Final EA and FONSI is arbitrary, capricious, an abuse of discretion, and not in accordance with

law under NEPA and the APA, which has caused or threatens serious prejudice and injury to the

rights and interests of Plaintiffs and their officers, members and staff, and must be reversed and

remanded pursuant to the APA, 5 U.S.C. § 706.

                                      PRAYER FOR RELIEF

    WHEREFORE, Plaintiffs respectfully request that the Court grant the following relief:

        A.       Declare, order and adjudge that the Final EA and FONSI violate NEPA and the

APA under any or all of the Claims for Relief above;

        B.       Reverse, vacate, and set aside the Final EA and FONSI for violating NEPA and

the APA;

        C.       Remand the matter to the Air Force with instructions to prepare a NEPA-

complaint EIS before undertaking any further training activities under the Urban CAS Training

Project;

        D.       Enter such preliminary and/or permanent injunctive relief as Plaintiffs may pray

for hereafter;

        E.       Award Plaintiffs their reasonable attorney fees, costs, and litigation expenses,

under the Equal Access to Justice Act, and/or any other applicable provision of law; and/or




COMPLAINT – 30
        Case 1:19-cv-00103-CWD Document 1 Filed 04/01/19 Page 31 of 31
                                                  	


       F.      Grant such further and additional relief as the Court deems just and proper in

order to remedy the violations of law alleged herein and to protect the interests of Plaintiffs and

the public.

       DATED: April 1, 2019                   Respectfully submitted,

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COMPLAINT – 31
